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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                         TYLER DIVISION

                                                §
      AKIA STANTON,                             §
                                                §
              Plaintiff,                        §
                                                §
      v.                                        §       CASE NO. 6:18-cv-479-JDK-JDL
                                                §
      JARVIS CHRISTIAN COLLEGE,                 §
                                                §
              Defendant.                        §
                                                §

                            ORDER ON PLAINTIFF’S POST-TRIAL MOTIONS

            Before the Court are several post-trial motions by Plaintiff Akia Stanton, including a

  motion for interest and liquidated damages (Docket No. 117), a motion for reinstatement or front

  pay (Docket No 118), a motion for bill of costs (Docket No. 119), and two motions for attorney’s

  fees (Docket Nos. 120; 149).

            As recounted in more detail in a previous Court Order,1 Stanton was the head women’s

  basketball coach at Jarvis Christian College before the college fired her in June 2018. In

  September 2018, Stanton sued Jarvis alleging, among other things, FMLA interference and FMLA

  retaliation. A February 2020 jury trial resulted in a jury verdict in Stanton’s favor on both FMLA

  claims and a damages award of $12,500. Docket No. 113.

                                  I.    Pre- and Post-Judgment Interest

            Stanton seeks pre-judgment interest under 29 U.S.C. § 2617(a)(1)(A)(ii) and post-

  judgment interest under 28 U.S.C. § 1961.




  1
      See Docket No. 161.



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                                                            A.

             Pre-judgment interest “at the prevailing rate” is mandatory when an employer violates the

  FMLA and should be added to the damages awarded for lost wages and benefits. 29 U.S.C.

  § 2617(a)(1)(A)(ii) (providing that an employer “shall be liable” for interest); see also Crankshaw

  v. City of Elgin, No. 1:18-cv-75, 2019 WL 3883566, at *3 (W.D. Tex. Aug. 8, 2019). Stanton

  argues that state law governs the pre-judgment interest rate and that interest should be assessed at

  5% per annum as per Texas Finance Code § 304.003. Docket No. 117 at 4. Jarvis’s response does

  not address the appropriate interest rate.              Nevertheless, the Court disagrees with Stanton’s

  proposed pre-judgment interest rate.

             Most district courts apply the current prime rate published by the Federal Reserve System

  Board of Governors as the appropriate pre-judgment interest rate in FMLA cases. See, e.g.,

  Crankshaw, 2019 WL 3883566, at *3; Carroll v. Sanderson Farms, Inc., No. H-10-3108, 2014

  WL 549380, at *4 n.1 (S.D. Tex. Feb. 11, 2014) (collecting cases applying the prime rate). Based

  on data available from the Federal Reserve website,2 the Court calculates the average prime rate

  between Stanton’s termination in June 2018 and the date of judgment in August 2020 to be 4.82%.

  Accordingly, the Court will award Stanton pre-judgment interest on the jury’s damages award at

  that rate—approximately $1.65 per day—from the date Jarvis terminated her employment, June

  29, 2018, through the date of Judgment.

                                                            B.

             Post-trial interest is required under 28 U.S.C. § 1961, which also sets the rate. The post-

  judgment interest rate for the week ending August 21, 2020 was 0.13%.3 The Court will award



  2
      See The Fed – Selected Interest Rates, https://www.federalreserve.gov/releases/h15/.
  3
      See http://www.txed.uscourts.gov/?q=post-judgment-interest-rates.



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  Stanton post-judgment interest at that rate from the date of Judgment until Jarvis pays the full

  amount of the Judgment.

                                        II.   Liquidated Damages

         Stanton also seeks liquidated damages pursuant to 29 U.S.C. § 2617(a)(1)(A)(iii). Docket

  No. 117.

                                                  A.

         Section 2617(a)(1)(A)(iii) generally provides for doubling the actual damages awarded

  under the FMLA unless the employer’s FMLA violation was “in good faith” and the employer had

  “reasonable grounds” for believing that its actions were not an FMLA violation. The Fifth Circuit

  has explained:

         Doubling of an award is the norm under the FMLA, because a plaintiff is awarded
         liquidated damages in addition to compensation lost. The district court’s discretion
         to reduce the liquidated damages “must be exercised consistently with the strong
         presumption under the statute in favor of doubling.”

  Nero v. Indus. Molding Corp., 167 F.3d 921, 929 (5th Cir. 1999) (citing Shea v. Galaxie Lumber &

  Constr. Co., 152 F.3d 729, 733 (7th Cir. 1998)). The employer thus “faces a ‘substantial burden’

  of demonstrating good faith and a reasonable belief that its actions did not violate the [statute].”

  Singer v. City of Waco, 324 F.3d 813, 823 (5th Cir. 2003) (quoting Bernard v. IBP, Inc. of Neb.,

  154 F.3d 259, 267 (5th Cir. 1998)).

                                                  B.

         Here, Jarvis has failed to meet its burden. At trial, Jarvis presented insufficient evidence

  that Jarvis president Dr. Lester Newman—who ultimately decided to deny Stanton’s FMLA leave

  request and terminate her—or those advising Dr. Newman acted in subjective good faith or had an

  objectively reasonable basis for the decision. Dr. Newman testified that he was not well acquainted

  with FMLA requirements. E.g., Trial Tr. 2/10/2020 at 82:21–24. And Jarvis’s representative at



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  trial, chief of staff Ms. Cynthia Stancil, testified that Jarvis’s human resources director received

  some FMLA training, but provided no specifics about that training. Trial Tr. 2/11/2020 at 99:4–

  16. Jarvis did not call the HR director, Dr. Daphne Singleton at the time of Stanton’s termination,

  to testify and introduced no evidence regarding her subjective good faith.

         Dr. Newman, moreover, testified that he was fully aware of Stanton’s medical leave request

  when he terminated her and that her request was a “factor” he considered. Trial Tr. 2/10/2020

  at 75:14–24, 130:11–131:14. But “[t]he regulations confirm that the FMLA protects employees

  from having their exercise of FMLA rights considered as ‘a’ factor in the decision-making

  process.” Richardson v. Monitronics Int’l, Inc., 434 F.3d 327, 334 (5th Cir. 2005) Stanton’s

  counsel also effectively impeached Dr. Newman with his own deposition testimony and

  interrogatory responses stating that Stanton’s request for FMLA leave played a role in his decision

  to terminate her. Trial Tr. 2/10/2020 at 76:13–22; see also Docket No. 161 at 12–13.

         Jarvis argues that it “consulted with legal counsel at each step of the process related to

  Plaintiff’s request for time off.” Docket No. 122 at 4. Jarvis, however, cites no evidence in support

  of this assertion. At trial, both Dr. Newman and Ms. Stancil testified in broad generalities about

  seeking legal advice on FMLA questions, but no one from Jarvis testified about any specific legal

  advice sought on Stanton’s FMLA leave request or the content of any legal advice received. See,

  e.g., Trial Tr. 2/10/2020 at 81:13–82:3; 143:22–145:1; Trial Tr. 2/11/2020 at 116:24–117:17. Dr.

  Newman also testified that the attorney Jarvis would have consulted for FMLA advice was not an

  attorney specializing in employment law, but was Jarvis’s attorney for all matters.            Trial

  Tr. 2/10/2020 at 144:10–19.

         Jarvis also argues that it reasonably denied Stanton’s leave request because Stanton failed

  to cure the deficiencies in her FMLA certification form within seven days. Docket No. 122 at 7.




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  But the Fifth Circuit has explained that the FMLA “requires cooperation from the employer and

  employee.” Mauder v. Metro. Transit Auth. of Harris Cnty., 446 F.3d 574, 582 (5th Cir. 2006).

  And here, the evidence showed Stanton cooperating with Jarvis up until the moment Jarvis

  terminated her: she submitted the certification form when Jarvis requested it, contacted Jarvis a

  few days later requesting an update on her leave request, and attempted to address the alleged

  deficiencies. See Docket No. 161 at 9–11. Jarvis’s termination of Stanton while she was trying to

  cooperate does not evidence good faith.

         Jarvis could have provided records of its staff’s FMLA training, testimony by Dr. Singleton

  or other Jarvis officials about FMLA training or research, or specifics about the legal counsel it

  sought on Stanton’s FMLA request. But Jarvis presented none of that. See, e.g., Morris v. VCW,

  Inc., No. 95-0737-CV-W-3-6, 996 WL 740544, at *3 (W.D. Mo. Dec. 26, 1996) (citing Barcellona

  v. Tiffany English Pub, 597 F.2d 464, 469 (5th Cir. 1979)) (“Defendant introduced no evidence at

  trial of any reliance on agency regulations or administrative or judicial interpretations, nor of any

  attempt by its President to seek legal advice before making the decision to terminate plaintiff’s

  employment instead of granting her request for leave. Good faith requires some duty to investigate

  potential liability under the Act.”). Accordingly, the Court finds that Jarvis has not demonstrated

  that it acted in good faith or that it had reasonable grounds for denying Stanton’s FMLA leave or

  terminating her employment.

         Without a showing of good faith and reasonable grounds for believing its actions did not

  violate the FMLA, § 2617(a)(1)(A)(iii) mandates that the Court award liquidated damages equal

  to the lost wages and benefits Stanton suffered and the pre-judgment interest on that amount.

  Accordingly, Stanton’s motion for liquidated damages is GRANTED.




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                                    III.    Reinstatement or Front Pay

          Stanton also seeks the equitable remedy of reinstatement to her position at Jarvis, or, in the

  alternative, five years of front pay. Docket No. 118.

                                                    A.

          The FMLA provides that “[a]ny employer who violates section 2615 of this title shall be

  liable to any eligible employee affected . . . for such equitable relief as may be appropriate,

  including employment, reinstatement, and promotion.” 29 U.S.C. § 2617(a)(1)(B). Reinstatement

  is generally the preferred equitable remedy. Giles v. Gen. Elec. Co., 245 F.3d 474, 489 n.27 (5th

  Cir. 2001). However, where the parties agree that reinstatement is not feasible, front pay can be

  an appropriate remedy. Id.; see also Downey v. Strain, 510 F.3d 534, 544 (5th Cir. 2007). While

  calculating front pay is, at best, “intelligent guesswork,” there are several factors to consider in

  determining the amount of a front pay award, including: (1) the length of prior employment, (2)

  the permanency of the position held, (3) the nature of the work, (4) the age and physical condition

  of the employee, (5) possible consolidation of jobs, and (6) the myriad other non-discriminatory

  factors that could validly affect the employer/employee relationship. Id. (citing Reneau v. Wayne

  Griffin & Sons, Inc., 945 F.2d 869, 871 (5th Cir.1991)).

                                                    B.

          Reinstatement is not a viable option here. Stanton explains that Jarvis has already hired

  another head women’s basketball coach and that there is animosity between Jarvis and Stanton

  based on the events around the time of her termination. Docket No. 118 at 6. Jarvis agrees that

  reinstatement is not feasible. Docket No. 123 at 4 (“Jarvis respectfully requests that the Court

  declines to order the reinstatement of Plaintiff into a position that is already filled and that she does

  not want.”). The Court agrees and therefore declines to order reinstatement. The head women’s

  basketball coach currently in place should not be displaced in favor of Stanton. See Palasota v.


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  Haggar Clothing Co., 499 F.3d 474, 489 (5th Cir. 2007) (displacing an existing employee to

  reinstate plaintiff is disfavored). And Jarvis has accused Stanton of taking college property and

  destroying files and property. DX 121. Regardless of the truth of the allegation, the allegation

  itself leads to hostility that makes reinstatement infeasible here. Mota v. Univ. of Tex. Hous. Health

  Sci. Ctr., 261 F.3d 512, 526 (5th Cir. 2001) (citing Woodhouse v. Magnolia Hosp., 92 F.3d 248,

  257 (5th Cir.1996)) (reinstatement may be infeasible where “a hostile relationship exists between

  the employer and the plaintiff”).

         The Court also finds front pay inappropriate in this case for at least two reasons.

         First, the evidence shows that it was unlikely that Stanton would have remained as the head

  women’s basketball coach at Jarvis for another five years. Before her termination, the athletic

  director recommended that Stanton’s contract not be renewed for 2018–2019 based on “several

  complaints” and her poor winning percentage. Trial Tr. 2/12/2020 at 82:23–83:21. Although Dr.

  Newman renewed Stanton’s contract for that year against the athletic director’s recommendation,

  there is no indication the athletic director’s recommendation would change in the future or that Dr.

  Newman would continue to override it. More importantly, Stanton’s own words indicated she was

  unhappy at Jarvis. In a January 2018 email to a friend, Stanton explained that she did not really

  like working at Jarvis, but that it was “only for now” and “a stop I had to make to further my

  career.” Trial Tr. 2/11/2020 at 217:16–25; DX 46. She also stated, “I want to go to another

  program or Institution [sic] that fully supports all athletic programs.” DX 46. Stanton testified at

  trial that she was “constantly applying for jobs” and looking for the next opportunity. Trial

  Tr. 2/11/2020 at 169:2–5. While Stanton did state that she planned to continue her career at Jarvis

  and speculated that she would have been coaching a winning women’s team for the two years after

  she was fired, id. at 169:17–170:13, the bulk of the evidence contradicts that testimony. Rather,




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  based on the evidence at trial, the Court finds that Stanton was ready to leave Jarvis at the first

  good opportunity and that her remaining there for several additional years was unlikely.

         Second, “a substantial liquidated damages award may indicate that an additional award of

  front pay is inappropriate or excessive.” Walther v. Lone Star Gas Co., 952 F.2d 119, 127 (5th

  Cir. 1992). Here, the Court has awarded liquidated damages equal to Stanton’s lost wages and

  benefits. An award of front pay would overcompensate Stanton for the injury caused by Jarvis’s

  FMLA violations.

         Because the Court finds both reinstatement and front pay inappropriate here, Stanton’s

  motion seeking that relief is DENIED.

                                         IV.    Attorney’s Fees

         Stanton requests an award of attorney’s fees pursuant to 29 U.S.C. § 2617(a)(3) in the

  amount of $115,840. Docket Nos. 120; 149.

                                                 A.

         The FMLA entitles a prevailing plaintiff to “a reasonable attorney’s fee, reasonable expert

  witness fees, and other costs of the action to be paid by the defendant.” 29 U.S.C. § 2617(a)(3).

  The court, however, has the discretion to determine the appropriate amount of the fee. Dotson v.

  Pfizer, Inc., 558 F.3d 284, 303 (4th Cir. 2009). Counsel bears the burden of showing the

  reasonableness of her fee request and that she exercised good billing judgment. Saizan v. Delta

  Concrete Prods. Co., 448 F.3d 795, 799 (5th Cir. 2006).

         The lodestar method—multiplying the number of hours reasonably expended on the

  litigation by a reasonable hourly rate—provides an initial estimate of a reasonable attorney’s fee.

  Blum v. Stenson, 465 U.S. 886, 888 (1984). A reasonable hourly rate should be similar to rates

  “prevailing in the community for similar services by lawyers of reasonably comparable skill,

  experience and reputation.” Id. at 895–96 n.11. Moreover, the “relevant market for purposes of


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  determining the prevailing rate to be paid in a fee award is the community in which the district

  court sits.” Tollett v. City of Kemah, 285 F.3d 357, 368 (5th Cir. 2002). “The fee applicant bears

  the burden to prove by competent evidence that the requested rate is reasonable.” Powell v.

  Comm’r, 891 F.2d 1167, 1173 (5th Cir. 1993) (citing Blum, 465 U.S. at 895 n.11). Further, the

  trial court itself is considered an expert as to the reasonableness of attorney’s fees, and therefore

  may exercise its own expertise and judgment in making an independent valuation of appropriate

  attorney fees. See Primrose Operating Co. v. Nat’l Am. Ins. Co., 382 F.3d 546, 562 (5th Cir. 2004)

  (citing In re TMT Trailer Ferry, Inc., 577 F.2d 1296, 1304 (5th Cir. 1978)).

         The Court may adjust the lodestar figure upward or downward based upon the respective

  weights of the factors set forth in Johnson v. Georgia Highway Express, Inc., 488 F.2d 714, 717–19

  (5th Cir. 1974). The twelve Johnson factors include:

         (1)     the time and labor required for the litigation;

         (2)     the novelty and difficulty of the questions presented;

         (3)     the skill required to perform the legal services properly;

         (4)     the preclusion of other employment by the attorney due to acceptance of the case;

         (5)     the customary fee;

         (6)     whether the fee is fixed or contingent;

         (7)     time limitations imposed by the client or the circumstances;

         (8)     the amount involved and the result obtained;

         (9)     the experience, reputation, and ability of the attorneys;

         (10)    the “undesirability” of the case;

         (11)    the nature and length of the professional relationship with the client; and

         (12)    awards in similar cases.




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   Johnson, 488 F.2d at 717–19. “The lodestar may not be adjusted due to a Johnson factor, however,

   if the creation of the lodestar award already took that factor into account.” Heidtman v. Cnty. of

   El Paso, 171 F.3d 1038, 1043 (5th Cir. 1999) (citing Shipes v. Trinity Indus., 978 F.2d 311, 319–

   20 (5th Cir. 1993)). “Such reconsideration is impermissible double-counting.” Id.

                                                   B.

          Stanton was represented solely by Katherine Britton in this case. Stanton argues that $400

   per hour is a reasonable hourly rate for Ms. Britton and that Ms. Britton worked 289.6 hours on

   the FMLA claims in this case. Docket No. 120 at 4; Docket No. 149 at 4. Stanton therefore

   requests $115,840 in attorney’s fees.

                                                   1.

          The Court finds that the number of hours Ms. Britton spent on this case is reasonable. Ms.

   Britton litigated the case for almost two years and served as the lead and only counsel in a three-

   day jury trial. In support of the hours spent on the matter, Ms. Britton provides billing records

   detailing the time she spent working only on the FMLA claims in this case. Docket No. 120,

   Ex. A-3; Docket No. 149, Ex. A. Jarvis argues that Ms. Britton should have submitted her

   complete billing records so the Court could segregate the FMLA claims Stanton prevailed on from

   the other alleged claims that were dismissed before trial. Docket No. 129 at 3. The Court

   disagrees. “A party requesting attorneys’ fees carries the burden of proof and the duty to segregate

   fees.” United States ex rel. Varco Pruden Bldgs. v. Reid & Gary Strickland Co., 161 F.3d 915,

   919 (5th Cir. 1998) (citing Smith v. United Nat’l Bank–Denton, 966 F.2d 973, 978 (5th Cir.1992)).

   Thus, it was Stanton’s burden to segregate her fees based on claims, and Ms. Britton did so. A

   review of the records shows that Ms. Britton included only the time she worked on the FMLA

   claim. Jarvis has not identified any specific entries that are inappropriate. And it is unclear how

   including the full billing records—that is, providing billing records for time worked on Stanton’s


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   non-FMLA claims—would be of any use here. Accordingly, the Court will use 289.6 hours in

   calculating the lodestar amount.

                                                   2.

          The Court does not, however, find that $400 per hour is a reasonable fee for Ms. Britton’s

   work in this case. In support of the $400 per hour billing rate, Stanton provides a table surveying

   rates requested by attorneys and rulings by Texas courts on attorney billing rates for employment

   cases. Docket No. 120, Ex. A-4. Stanton also provides the declaration of Tyler attorney William

   S. Hommel, Jr. Docket No. 120, Ex. B.

          Jarvis argues that the table surveying past employment-case fee applications and rulings

   fails to show: “(1) how the facts of the cases correlate to the facts of this case, (2) how the

   experience and skill of the attorneys’ correlate to Plaintiff’s counsel, or (3) how the relevant

   markets differ from the relevant market in this District.” Docket No. 129 at 6. The Court agrees.

   A list of past attorney fee requests and awards is unhelpful when the experience, skill, reputation,

   and location of the listed attorneys vary extensively. Blum, 465 U.S. at 895–96 n.11 (requested

   rates should be “in line with those prevailing in the community for similar services by lawyers of

   reasonably comparable skill, experience and reputation”). And Stanton provides no way to

   correlate the various attorney rates in the table with the skill, experience, and reputation of Ms.

   Britton.

          The Court also finds the declaration of Mr. Hommel unpersuasive. Mr. Hommel opines

   that “$400 per hour is a reasonable hourly rate for a Plaintiff’s attorney of Katherine Britton’s

   experience, skill, and expertise and is customary for East Texas.” Docket No. 120, Ex. B ¶ 5.

   While the Court does not doubt Mr. Hommel’s credentials, Mr. Hommel does not support his

   conclusion with any evidence, such as identifying other similarly situated attorneys that bill $400

   per hour. And expert opinion “must be more than unsupported speculation or subjective belief.”


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   Curtis v. M&S Petroleum, Inc., 174 F.3d 661, 668 (5th Cir. 1999) (citing Daubert v. Merrell Dow

   Pharms., Inc., 509 U.S. 579, 590 (1993)). Accordingly, the Court will not rely on Mr. Hommel’s

   declaration.

              In accord with other Texas courts, the Court will instead look to the State Bar of Texas

   Hourly Fact Sheet publication4 for guidance on prevailing rates in the community for similar

   services. See, e.g., Alvarez v. McCarthy, No. 6:16-cv-175, 2020 WL 1677715, at *6–7 (W.D. Tex.

   Apr. 6, 2020) (relying on the Fact Sheet to gauge the reasonableness of rates); Geophysical Serv.,

   Inc. v. TGS-NOPEC Geophysical Co., No. H-14-1368, 2020 WL 821879, at *9 (S.D. Tex. Feb.

   19, 2020) (taking judicial notice of the Fact Sheet); Virtual Chart Sols. I, Inc. v. Meredith, No.

   4:17-cv-546, 2020 WL 1902530, at *19 (E.D. Tex. Jan. 13, 2020) (accepting rates supported by

   Fact Sheet); Leal v. All-City Trailer Repair, L.P., No. 3:16-cv-03274, 2018 WL 4913786, at *2

   (N.D. Tex. Oct. 10, 2018) (comparing rate to Fact Sheet). According to the Fact Sheet, the median

   rate for a labor and employment attorney in the East & Northeast Texas MSAs was $240 in 2015.

   The Fact Sheet indicates that the median rate for an attorney with eleven to fifteen years’

   experience in the East & Northeast Texas MSAs was $235 in 2015.5 Using these two medians,

   the Court determines that $237.50 is a reasonable 2015 rate for Ms. Britton’s work.

              Ms. Britton performed most of her work in this case in 2019. Adjusting the 2015 rate of

   $237.50 for inflation, a 12.73% increase from 2015 to 2019, results in a 2019 rate of $267.74.6

   Multiplying the $267.74 rate by the 289.6 hours worked results in a lodestar value of $77,537.50.



   4
       STATE BAR OF TEX., 2015 HOURLY RATE FACT SHEET (Aug. 2016), available at
   https://www.texasbar.com/AM/Template.cfm?Section=Archives&Template=/CM/ContentDisplay.cfm&ContentID=
   34182.
   5
       As of 2019, Ms. Britton had around twelve years of experience as an attorney. Docket No. 120, Ex. A-1.
   6
      See Prices for Legal Services, 2015–2019, OFFICIAL DATA FOUND., https://www.officialdata.org/Legal-
   services/price-inflation/2015-to-2019.



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          There is a strong presumption that the lodestar represents the reasonable fee. City of

   Burlington v. Dague, 505 U.S. 557, 562 (1992). And “the lodestar figure includes most, if not all,

   of the relevant factors constituting a ‘reasonable’ attorney’s fee.” Perdue v. Kenny A. ex rel. Winn,

   559 U.S. 542, 553 (2010). The Court finds that several of the Johnson factors are already included

   in this lodestar figure, including factors one (the time and labor required for the litigation), three

   (the skill required to perform the legal services properly), five (the customary fee), and nine (the

   experience, reputation, and ability of the attorneys). Neither party has argued—and the Court has

   found nothing in the record to suggest—that factors two (the novelty and difficulty of the questions

   presented), four (the preclusion of other employment by the attorney due to acceptance of the

   case), six (whether the fee is fixed or contingent), seven (time limitations imposed by the client or

   the circumstances), ten (the “undesirability” of the case), eleven (the nature and length of the

   professional relationship with the client), and twelve (awards in similar cases) are relevant here or

   warrant an adjustment to the lodestar figure.

          That leaves factor eight—the amount involved and the result obtained. Jarvis argues that

   the amount of actual damages awarded justifies either decreasing or eliminating the attorney’s fee

   award here. Docket No. 129 at 7–9. The Court disagrees. Jarvis is correct that Stanton originally

   advanced several claims against the college, including FMLA, Title VII, libel, and negligent

   supervision, training, and retention claims. Docket No. 1. And Stanton did not succeed on most

   of those claims. See Docket Nos. 25; 64. However, Stanton largely succeeded on her FMLA

   claims, winning the jury verdict on FMLA interference and FMLA retaliation at trial and being

   awarded $12,500 in actual damages by the jury. Docket No. 113. Stanton also succeeded on her

   FMLA liquidated damages claim. See Section II, supra. And because Stanton has sought only

   attorney’s fees for work done on the FMLA claims, the lodestar figure has already excluded




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   Stanton’s unsuccessful claims. Further, “while the amount of damages awarded is one factor to

   be considered in setting the amount of attorney’s fees, the district court must also carefully consider

   any other relevant Johnson factors.” Cobb v. Miller, 818 F.2d 1227, 1235 (5th Cir. 1987). “In the

   absence of other Johnson factors justifying a reduction in a fee award, a district court should not

   reduce the fee award solely because of a low damages award.” Id. Accordingly, because the

   relatively low damages award is the only relevant Johnson factor potentially favoring a decrease

   in the lodestar amount, the Court declines to adjust the fee award solely on that basis.

                                         *          *        *     *

           Based on the lodestar amount calculated, and consideration of the Johnson factors, the

   Court awards Stanton $77,537.50 in attorney’s fees as required under 29 U.S.C. § 2617(a)(3).

                                             V.         Bill of Costs

           Stanton seeks $3,645.41 in costs under Federal Rule of Civil Procedure 54(d). Docket

   Nos. 119; 162. Stanton’s proposed bill of costs lists eligible expenses under 28 U.S.C. § 1920,

   each of which she has substantiated with a receipt or invoice. Docket No. 162, Exs. A & B.

   Jarvis’s only opposition to Stanton’s request for a bill of costs is “there was no evidence that she

   was protected under the Act.” Docket No. 128 at 1. Jarvis does not challenge any particular

   expense on Stanton’s bill of costs or otherwise address the substance of Stanton’s request.

           The Court has addressed Jarvis’s substantive argument and rejected it. Docket No. 161.

   Accordingly, because Jarvis does not challenge the substance of Stanton’s proposed bill of costs,

   and the Court finds the requested costs appropriate under § 1920, the Court GRANTS the motion

   for entry of bill of costs.

                                              VI.       Conclusion

           As explained above, the Court GRANTS-IN-PART Stanton’s motion for Liquidated

   Damages and Interest (Docket No. 117), DENIES Stanton’s motion for reinstatement or front pay


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   (Docket No. 118), GRANTS Stanton’s motion for entry of bill of costs (Docket No. 119, 162),

   and GRANTS-IN-PART Stanton’s motions for attorney’s fees (Docket Nos. 120; 149). The

   Court will issue a separate Final Judgment in accord with the jury verdict and this Order.

   Accordingly, Stanton’s motion for entry of judgment (Docket No. 150) is DENIED AS MOOT.

            So ORDERED and SIGNED this 27th day of August, 2020.



                                                    ___________________________________
                                                    JEREMY D. KERNODLE
                                                    UNITED STATES DISTRICT JUDGE




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